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                                                       March 25, 2019

Via ECF
Hon. Katharine H. Parker
United States Magistrate Judge
United States District Court, S.D.N.Y.
500 Pearl Street
New York, NY 10007-1312

       Re:      Michael Kors, L.L.C. v. Ye, 18 Civ. 02684 – Defendant’s Letter Motion to Compel Discovery

Dear Hon. Judge Parker:

       Pursuant to the Court’s March 11, 2019 Order (Dkt.#49), Defendant respectfully submits this Letter
Motion to Compel Plaintiff: (1) to produce documents in full response to Defendant’s Requests for
Production of Documents (“RPD”) Nos. 6, 12, 13, 16, 20-22, 28, 31-34 and 37, and (2) to “admit” or “deny”
Defendant’s Requests for Admission (“RFA”) Nos. 1, 2, 13 and 14.

       Copies of these requests and Plaintiff’s responses thereto are attached as Exhibits A-D.

         Although Plaintiff initiated this case and claims to be a famous fashion brand, Plaintiff has produced
less than 500 pages of documents in this matter and has outright refused to produce basic documents highly
relevant to its claims of trade dress infringement, including non-privileged information in its possession,
custody or control concerning the strength, fame, scope and enforcement of the Michael Kors Common Law
Trademark (“MK Trademark”) and Michael Kors Trade Dress (“MK Trade Dress”). Plaintiff also refuses to
respond to discovery concerning the MK Trademark portion of its trade dress, even though its claimed trade
dress simply is its MK Trademark repeated in a common pattern found on handbags and which trademark is
referenced at least eleven times in the Complaint. As set forth herein, these and other objections asserted by
Plaintiff are without merit and the Court should grant Defendant’s motion to compel.

        The Court also should compel Plaintiff to comply with its agreement made during the meet and
confer process to amend certain discovery responses and produce certain documents by last Friday, March
22, 2019. Plaintiff confirmed this agreement to the Court in the parties’ joint status letter dated March 8,
2019 (Dkt.#48). Defendant has not yet received amended responses or additional documents from Plaintiff.

       I.       Discovery Concerning the Strength of Plaintiff’s Alleged Marks and Trade Dress

        Defendant’s RPD seeks documents concerning: Plaintiff’s business, strategic and market plans
concerning the MK Trademark and MK Trade Dress (12); trademark searches and investigations concerning
the MK Trademark or MK Trade Dress (13); disputes between Plaintiff and third parties concerning the MK
Trademark or MK Trade Dress (21); Plaintiff’s enforcement of the MK Trademark or MK Trade Dress (20,
22); agreements concerning the use or registration of the MK Trademark or MK Trade Dress (28); Plaintiff’s
application(s) to register the MK Trademark and MK Trade Dress (31); third party use of marks or trade

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dress similar to the MK Trademark or MK Trade Dress (32), including the initials “MK” (33) or a repeating
pattern of initials (34); and claims or lawsuits filed by Plaintiff concerning the MK Trademark and MK
Trade Dress (37).

         Plaintiff has objected to the disclosure of these documents on various grounds, including that such
information is irrelevant to this case. To the contrary, all of these requests are relevant because they pertain
to the strength and scope of protection of the trade dress at issue.

        To succeed in a trade dress infringement suit, Plaintiff must prove that consumers are likely to be
confused as to the source of the Defendant’s products. 15 U.S.C. § 1125(a); Polaroid Corp. v. Polarad
Electronics Corp., 287 F.2d 492, 495 (2d Cir. 1961). To determine whether a likelihood of confusion exists,
Courts look to several factors, including the strength of the plaintiff’s mark. Id. To gauge a mark’s strength,
Courts consider several factors, including the amount of third-party usage of the mark. Star Industries v.
Bacardi & Co., 412 F.3d 373, 385 (2d Cir. 2005). Use of part or all of the mark by third parties weakens its
overall strength, Lever Bros. Co. v. Am. Bakeries Co., 693 F.2d 251, 256 (2d Cir. 1982), and is a powerful
indication that there is no likelihood of confusion. Starbucks Corp. v. Wolfe’s Burough Coffee, Inc., 588
F.3d 97, 117 (2d Cir. 2009). Such third party use may be shown by Plaintiff’s enforcement records, co-
existence and license agreements, trademark search reports, and surveys. The strength of a mark is also
assessed by analyzing a trademark user’s enforcement of the mark, Patsy’s Brand, Inc. v. I.O.B. Realty, Inc.,
317 F.3d 209, 217-18 (2d Cir. 2003), and agreements concerning or affecting the mark’s limitations and
scope. Patsy’s Italian Restaurant, Inc. v. Banas, 508 F. Supp. 194, 220 (S.D.N.Y. 2007). Plaintiff’s
marketing and sales document also are relevant to strength of its claimed trade dress. Nina Ricci, S.A.R.L. v.
Gemcraft, Ltd., 612 F. Supp. 1520, 1527 (S.D.N.Y. 1985). And Plaintiff’s marketing channels also is a
specific likelihood of confusion factor under Polaroid. 287 F.2d at 495. The documents requested above
thus are all relevant to the strength of the MK Trademark and MK Trade Dress and likely confusion.

         Plaintiff’s assertion that documents are publically available concerning its filed lawsuits and
trademark proceedings is not reason not to produce the same when such documents are readily in Plaintiff’s
possession, custody or control. Convolve, Inc. v. Compaq Computer Corp., 643 F.Supp.2d 336, 342
(S.D.N.Y. 2008) (finding that although a publicly availably document may be accessible to the requesting
party, the other party was “undeniably in the best position to identify it and produce it”). Moreover, such
public filings would not include relevant correspondence between the parties in those suits, settlement
agreements, any document concerning claims made by Plaintiff other than by suit or administrative action, or
the existence of third party marks against which Plaintiff has not enforced.

        II.     Discovery Concerning the MK Trademark

        Plaintiff objects to RPD Nos. 12, 13, 20-22, 28, 31-34, 37 noted above, to RPD No. 16 seeking
specimens of use of the MK Trademark, and to RFAs seeking admissions that: Defendant’s Trade Mark is
not identical to the MK Trademark (1); Plaintiff is precluded by agreement with Mary Kay from registering
the MK Trademark (13); and that the MK Trademark is not presumptively valid (14), all on the grounds that
such information is irrelevant because Plaintiff has not alleged infringement of the MK Trademark.

        While the sole cause of action in this case is for trade dress, and not trademark, infringement, it is
impossible to separate the two in this particular case because the MK Trademark is the most dominant and
only allegedly distinct part of the MK Trade Dress. Indeed, the MK Trade Dress is just the MK Trademark
in a repeating pattern common to many handbag brands. Trade dress encompasses the design and

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appearance of the product that makes the product identifiable to consumers, Nora Beverages, Inc. v. Perrier
Group of America, Inc., 269 F.3d 114, 118 (2d Cir. 2001), including any trademark portion of trade dress.
Bristol-Myers Squibb Co. v. McNeil-P.P.C., Inc., 973 F.2d 1033, 1042 (2d Cir. 1992). Plaintiff itself
specifically references the MK Trademark at least eleven times in its Complaint. Plaintiff cannot now claim
to the contrary that the MK Trademark is not relevant to its claims.

         Defendant suspects that Plaintiff’s true motivation in refusing to respond to these requests is that
Plaintiff does not want to produce a long-standing settlement and co-existence agreement it has with Mary
Kay that precludes Plaintiff’s registration of the MK Trademark for certain goods and services and likely
contains other limiting trademark provisions. But this agreement, which would also cover the MK Trade
Dress by application (since the trade dress is just a repeating MK Trademark), is highly relevant to the
strength of Plaintiff’s mark and trade dress.

        III.    Other Discovery Request

        Defendant’s RFA asks Plaintiff to admit: that Defendant’s Trade Mark is not identical to the MK
Trademark (1) and that Defendant’s trade dress is not identical to the MK Trade Dress (2). Plaintiffs object
to these RFAs on the grounds that the standard for trade dress infringement is the likelihood of confusion,
not whether the product designs are identical. The similarity of the marks as they appear in the marketplace
is one of the likelihood of confusion factors. Arrow Fastener Co. v. Stanley Works, 59 F.3d 384, 394 (2d
Cir. 1995). Whether marks are identical would thus be relevant to similarity.

         Plaintiff has refused to produce organizational charts reflecting Plaintiff’s corporate structure,
affiliated companies, and management hierarchy (6). These documents speak to the core of Plaintiff’s
structure and business, which essentially is its brand, and thus are relevant to this action.

         Plaintiff claims that some or all of these requests are burdensome and not proportional to the needs of
this case. As discussed above, most of these requests go to the core of the likelihood of confusion issue at
the heart of this case. Moreover, Plaintiff filed this case and alleged it is a famous and valuable global brand
that reflects the pinnacle of luxury. It also has the burden to prove its case. It cannot now claim that
producing these basic documents essential to its allegations is burdensome. Indeed, Plaintiff has not agreed
to produce any documents based on such objection, not even an amount it would deem non-burdensome or
proportional, in and of itself showing that its objection is unfounded. If Plaintiff was not prepared to
diligently litigate this matter, it should not have filed suit in the first instance.

        Based on the foregoing, the Court should grant Defendant’s motion to compel.

                                                 Respectfully submitted,

                                                 s/ Eric J. Shimanoff

Exhibits A-D




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